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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v. Case No. 1:21-cr-392-1-RCL
ALAN HOSTETTER,

Defendant.

ORDER
Mr. Hostetter moved this Court to stay his sentence and release him pending appeal on .
December 26, 2023. ECF No. 390. The government filed its opposition on December 28, ECF
No. 392, and Mr. Hostetter replied on December 29, ECF No. 393. Mr. Hostetter’s motion is now
ripe. Upon consideration of the parties’ filings, the applicable law, and the entire record herein, it
is hereby ORDERED that Mr. Hostetter’s motion [390] is DENIED.
The Court construes Mr. Hostetter’s motion as a request for release Sending appeal under
18 U.S.C. § 3143(b). Under that statute, Mr. Hostetter must show by “clear and convincing
evidence that [he] is not likely to flee or pose a danger to the safety of any other person or the
community if released.” 18 U.S.C. § 3143(b)(1)(A). Mr. Hostetter must further show that his
appeal “raises a substantial question of law or fact likely to result in” either “(i) reversal, (ii) an
order for a new trial, (iii) a sentence that does not include a term of imprisonment, or (iv) a reduced
sentence to a term of imprisonment less than the total of the time already served plus the expected
duration of the appeal process.” 18 U.S.C. § 3143(b)(1)(B).
The Court assumes without deciding that Mr. Hostetter can make the requisite showing
under 18 U.S.C. § 3143(b)(1)(A). The Court further assumes that the question before the Supreme

Court in United States v. Fischer is a “substantial” one within the meaning of Section 3143. See
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United States v. Perholtz, 836 F.2d 554, 555 (D.C. Cir. 1987). The only “substantial question”
identified in Mr. Hostetter’s motion is the question presented in Fischer. See ECF No. 390.

Nevertheless, Mr. Hostetter’s motion fails because he cannot show that any of the results
required under 18 U.S.C. § 3143(b)(1)(B) are likely to result. Fischer does not implicate his
convictions under Section 1752 (Counts Three and Four). Whether the D.C. Circuit is right or
wrong regarding the scope of Section 1512(c) does not undermine this Court’s factual findings as
to what Mr. Hostetter did on January 6, findings which overwhelmingly support his conviction
under Counts Three and Four of the Second Superseding Indictment. See ECF No. 275 (oral
verdict). Mr. Hostetter’s assertion that this Court “intertwined its specific findings for [the
obstruction and conspiracy to obstruct counts] with its reasoning for [the remaining counts]”
mistakes this Court’s factual findings for its legal conclusions. The former will persist even if they
are ultimately rendered legally insufficient to sustain a conviction under Section 1512(c). Because
Fischer does not bear on the validity of Mr. Hostetter’s convictions under Counts Three and Four,
he is not at all likely to obtain “reversal” or an “order for a new trial” which respect to all counts,
which is required to prevail under Section 3143(b)(1)(B). See Perholz, 836 F.2d at 557.

Nor can Mr. Hostetter show that his Section 1512(c) challenge is likely to result in “a
sentence that does not include a term of imprisonment” or “a reduced sentence to a term of
imprisonment less than the total of the time already served plus the expected duration of the appeal
process.” 18 U.S.C. § 3143(b)(1)(B). The government reasonably estimates that the Supreme Court
will likely decide Fischer by June 2024. ECF No. 392 at 6. It is extremely unlikely that the six
months Mr. Hostetter will have served by then will exceed any reduced sentence resulting from a
successful challenge to Section 1512(c). The Court imposed a significant 120-month sentence on

Counts Three and Four—which are not implicated by Mr. Hostetter’s’ Section 1512(c)
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challenge—after presiding over a multi-day bench trial, preparing a copiously detailed oral verdict,
and reviewing the whole record in advance of sentencing. An eventual sentence reduction from
120 months to 6 months would be a shocking result. Indeed, the sentence imposed “was and
remains .. . sufficient, but not greater than necessary” under the 18 U.S.C. § 3553(a) sentencing
factors. See United States v. Alston, No. 02-cr-57 (JDB), 2006 WL 1518952, at *4
(D.D.C. May 30, 2006) (internal quotation marks and citation omitted). On this record, Mr.
Hostetter cannot show that his Section 1512(c) challenge is “likely to result in” no imprisonment
or “a reduced sentence to a term of imprisonment” less than the time he will have served by the
time the Supreme Court decides Fischer. 18 U.S.C. § 3143(b)(1)(B).

For all these reasons, Mr. Hostetter’s motion [390] is DENIED and he must self-surrender
in January 2024.

SO ORDERED.

Date: January 2, 2024 “Sine, G. Folie

Royce C. Lamberth
United States District Judge

